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                    Ｅｘｈｉｂｉｔ ４－１
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１４：５３１      Ａ                      ：：！！    １４：５３１ Ａ                      ：！



         于总１７００４ １ Ｍｒ．Ｙｕ                        よ     Ｍｓ． Ｃｈｅｎ
         昵称：少寒夜
                                                地区：湖南常德
         地区：广东 深圳                               Ｒｅｇｉｏｎ： Ｃｈａｎｇｄｅ， Ｈｕｎａｎ
         Ｒｅｇｉｏｎ： Ｓｈｅｎｚｈｅｎ， Ｇｕａｎｇｄｏｎｇ
朋友资料                                      朋友圈

朋友权限
                                                          发消息


朋友圈

视频号少寒夜




                   发消息

                □音视频通话
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１４：４９１                                ：：！！                １４：４９１                                   ：！！今                      １４：４９１                                    ：令

                   于总１７００４ Ｍｒ．Ｙｕ                      〈                      于总１７００４ Ｍｒ．Ｙｕ                                       Ｍｒ．Ｙｕ           于总１７００４

Ｍａｙ １８，１３：４９       ５月１８日 １３：４９                                           就是你们现在不招代理了嘛                                                               Ｕｎｓｏｌｄ ｉｎｖｅｎｔｏｒｙ ｃａｎ
                                                                                                                                    你没卖完的货，可以继续卖呀。没 ｃｏｎｔｉｎｕｅ
                                                             Ｓｏ ｙｏｕ＇ｒｅ ｎｏｔ ｒｅｃｒｕｉｔｉｎｇ ａｇｅｎｔｓ ａｎｙｍｏｒｅ？                                卖完的货，是不影响的。             ｔｏ ｂｅ ｓｏｌｄ． Ｉｔ ｗｏｎ＇ｔ
                                                                                                                                                                            ｂｅ ａｆｆｅｃｔｅｄ．
     我通过了你的朋友验证请求，现在我                                                    就只供你们自己的品牌是不                                                                   Ｗｅ ｏｎｌｙ ｆｉｌｅ ｃｏｍｐｌａｉｎｔｓ ａｇａｉｎｓｔ ｐｒｏｄｕｃｔｓ ｔｈａｔ ａｒｅｎ＇ｔ
     们可以开始聊天了                                                                                                                        ６＂                  ｆｒｏｍ ｏｕｒ ｂｒａｎｄ． Ｗｅ ｗｏｕｌｄ ｎｅｖｅｒ ｆｉｌｅ ｃｏｍｐｌａｉｎｔｓ
                                                                                  Ｉｓ ｔｈｉｓ ｐａｔｅｎｔ ｎｏｗ
Ｉ＇ｖｅ ａｃｃｅｐｔｅｄ ｙｏｕｒ ｆｒｉｅｎｄ                                                         ｅｘｃｌｕｓｉｖｅｌｙ ｕｓｅｄ ｆｏｒ                                                  ａｇａｉｎｓｔ ｏｕｒ ｏｗｎ ｂｒａｎｄｅｄ ｐｒｏｄｕｃｔｓ．
ｒｅｑｕｅｓｔ． Ｎｏｗ ｗｅ ｃａｎ ｃｈａｔ． 于总，打扰了                               川１２＂               ｙｏｕｒ ｏｗｎ ｂｒａｎｄ？                                   我们这边投诉的，只投诉是不是我们
                                                                                                                                    自己的产品，我们自己的产品不会投
             Ｍｒ．Ｙｕ， ｓｏｒｒｙ ｔｏ ｂｏｔｈｅｒ ｙｏｕ．                       我很早以前就跟你们讲过了，这个是Ｉ ｔｏｌｄ ｙｏｕ ａ ｌｏｎｇ                                    诉的。
      想问下这个ｍｉｎｉ的ＤＣ头的专利是你                                       有专利的。如果说你们卖其他家  ｔｉｍｅ ａｇｏ—ｔｈｉｓ
                                                                               ｐｒｏｄｕｃｔ ｉｓ ｐａｔｅｎｔｅｄ
                                                                                                                                                                                       Ｔｈｅ ｃｏｎｎｅｃｔｏｒｓ ｗｅ
      们的嘛                                                      的，到时候被投诉了，我们这边是 Ｉｆｙｏｕ ｓｅｌｌ ｏｔｈｅｒ                                                                                        ｒｅ ｓｅｌｌｉｎｇ ｎｏｗ ｈａｖｅ
Ｉｓ ｔｈｅ ｐａｔｅｎｔ ｆｏｒ ｔｈｅ ｍｉｎｉ ＤＣ ｃｏｎｎｅｃｔｏｒ ｙｏｕｒｓ？                                                                                       我们现在卖的这个其实接头是有改动                                  ｍｏｄｉｆｉｃａｔｉｏｎｓ． Ｃａｎ
                                                               帮不了的。这个专利是我们的，然 ｂｒａｎｄｓ ａｎｄ ｇｅｔ                                        的，这边看能不能帮撤诉下，你们这                                  ｙｏｕ ｈｅｌｐ ｗｉｔｈｄｒａｗ
                                                               后我们现在也不招新的代理了。  ｒｅｐｏｒｔｅｄ，ｗｅ ｃａｎ＇ｔ                                     边有什么诉求也可以跟我们说下                                    ｔｈｅ ｃｏｍｐｌａｉｎｔ？ Ｌｅｔ
                                                                               ｈｅｌｐ ｙｏｕ． Ｔｈｉｓ                                                                                          ｕｓ ｋｎｏｗ ｙｏｕｒ
                                                                               ｐａｔｅｎｔ ｂｅｌｏｎｇｓ ｔｏ                                   １Ａ                                                  ｄｅｍａｎｄｓ．
                                                               ）
                                                                               ｕｓ，ａｎｄ ｗｅ＇ｒｅ ｎｏｔ                                     》１３＂
                                                                                                        ｔａｋｉｎｇ ｎｅｗ ａｇｅｎｔｓ                                                    Ｗｅ ｒｅｍｉｎｄｅｄ ｙｏｕ ｒｅｐｅａｔｅｄｙ，
                                                              我们还是之前的那些代理，然后还有ａｎｙｍｏｒｅ．                                              哎，你好，这边其实很早就给你们 ｂｕｔ ｙｏｕ ｉｇｎｏｒｅｄ ｉｔ．
     是的      Ｙｅｓ                                               自己的品牌，就不再扩招了。 Ｗｅ＇ｒｅ ｓｔｉｃｋｉｎｇ ｗｉｔｈ ｏｕｒ                                打过招呼了，但是你们一直没有在乎 Ｗｉｔｈｄｒａｗａｌ ｉｓｎ＇ｔ ｐｏｓｓｉｂｌｅ， ｔｈｅ
                                                                                                ｅｘｉｓｔｉｎｇ ａｇｅｎｔｓ ａｎｄ ｏｕｒ             这个事情。这个撤诉肯定是撤诉不了 ｍａｔｔｅｒ ｃａｎ ｏｎｌｙ ｂｅ ｒｅｓｏｌｖｅｄ
                   Ｗｅ ｎｏ ｌｏｎｇｅｒ ｌｉｃｅｎｓｅ ｉｔ ｏｕｔ－ｗｅ         Ｍａｙ １８，１３：５５     ５月１８日１３：５５           ｏｗｎ ｂｒａｎｄ．Ｎｏ ｆｕｒｔｈｅｒ                的，你们只能说去应诉解解决了。                          ｔｈｒｏｕｇｈ ｌｅｇａｌ ｐｒｏｃｅｅｄｉｎｇｓ．
                   ｈａｎｄｌｅ ｅｖｅｒｙｔｈｉｎｇ ｏｕｒｓｅｌｖｅｓ ｎｏｗ．                                            ｅｘｐａｎｓｉｏｎ．                           这边我们很早以前打过招呼了，已                           Ｔｈｉｓ ｗａｓ ｃｏｍｍｕｎｉｃａｔｅｄ ｌｏｎｇ
                                                               我们还有二代线材你们这边拿货的都
                                                                                                                                    经。                                       ａｇｏ．
     我们现在这边现在不授权了，就都是
     自己做了。                                                     还没卖完呢                                                                                                           Ｉｆｙｏｕ＇ｒｅ ｏｎｙ ｃｏｎｔａｃｔｉｎｇ
                                                                              Ｗｅ ｓｔｉｌｌ ｈａｖｅ ｕｎｓｏｌｄ ｉｎｖｅｎｔｏｒｙ ｏｆ                     ７＂               ｍｅ ａｂｏｕｔ ｗｉｔｈｄｒａｗｉｎｇ ｔｈｅ
                                                                              ｙｏｕｒ ｇｅｎ ２ ｃａｂｌｅｓ．                                                     ｃｏｍｐｌａｉｎｔ， ｄｏｎ＇ｔ ｂｏｔｈｅｒ
     这个专利就是我们的Ｔｈｉｓ ｐａｔｅｎｔ ｂｅｌｏｎｇｓ ｔｏ ｕｓ                        川４＂                                                                                   ｒｅａｃｈｉｎｇ ｏｕｔ ａｇａｉｎ．Ｉ＇ｍ
                                                                                                                                    如果你找我只是为了撤诉的话，就不 ｃｕｒｒｅｎｔｌｙ ｄｒｉｖｉｎｇ ｏｎ ｔｈｅ
                                                                                                                                    用再联系了。我这边在高速上有点儿 ｈｉｇｈｗａｙ ａｎｄ ａ ｂｉｔ ｂｕｓｙ，
     よ：                                                        你没卖完的货，可以继续卖呀。没                                                      忙，不太方便去回你信息。                               ｓｏ Ｉ ｃａｎ＇ｔ ｒｅｓｐｏｎｄ ｔｏ ｙｏｕｒ
                                                               卖完的货，是不影响的。                                                                                                     ｍｅｓｓａｇｅｓ ｃｏｎｖｅｎｉｅｎｔｌｙ
                                                                                Ｕｎｓｏｌｄ ｉｎｖｅｎｔｏｒｙ ｃａｎ ｃｏｎｔｉｎｕｅ ｔｏ                                              那你这边先忙
               就是你们现在不招代理了嘛                                    川６＂              ｂｅ ｓｏｌｄ．Ｉｔ ｗｏｎ＇ｔ ｂｅ ａｆｆｅｃｔｅｄ．                       Ａｌｒｉｇｈｔ， Ｉ ｗｏｎ＇ｔ ｂｏｔｈｅｒ ｙｏｕ ｆｏｒ ｎｏｗ．
  Ｓｏ ｙｏｕ＇ｒｅ ｎｏｔ ｒｅｃｒｕｉｔｉｎｇ ａｇｅｎｔｓ ａｎｙｍｏｒｅ？                    我们这边投诉的 只投诉是不是我们                                                                                               固    ＋
                                                                                                              ＋

     Ｃｏｎｎｅｃｔｏｒ
     Ｉｍａｇｅｓ（８）
                                                                                                                  ＵＳＤ１０６３８５６Ｓ１
                                                                                                                Ｕｎｉｔｅｄ Ｓｔａｔｅｓ
                                                                                                                  目Ｄｏｗｎｌｏａｄ ＰＤＦ           Ｆｉｎｄ Ｐｒｉｏｒ Ａｒｔ ∑Ｓｉｍｉｌａｒ
                                                                                                                Ｉｎｖｅｎｔｏｒ： Ｈｅｃｈｕａｎ Ｘｕ
                                                                                                                Ｃｕｒｒｅｎ Ａｓｓｉｇｎｅｅ： Ｓｃａｎ２ｃａｄ Ｉｎｃ

                                                                                                                Ｗｏｒｌｄｗｉｄｅ ａｐｐｌｉｃａｔｉｏｎｓ
                                                                                                                ２０２４－ＵＳ
                                                                                                                Ａｐｐｌｉｃａｔｉｏｎ ＵＳ２９／９５２，１４４ ｅｖｅｎｔｓ ②
                                                                                                                ２０２４－０１－０１·Ｐｒｉｏｉｔｙ ｃｌａｉｍｅｄ ｆｒｏｍ ＵＳ２９／９２３，７２６
                                                                                                                ２０２４－０７－１４·Ａｐｐｌｉｃａｔｉｏｎ ｆｌｅｄ ｂｙ Ｓｃａｎ２ｃａｄ Ｉｎｃ
                                                                                                                ２０２４－０７－１４·Ｐｒｉｏｒｉｔｙ ｔｏ ＵＳ２９／９５２，１４４
                                                                                                                ２０２４－０９－２６ Ａｓｓｉｇｎｅｄ ｔｏ Ｓｈａｎｇｈａｉ Ｍａｏｄｏｕｙａ Ａｕｔｏｍｏｔｉｖｅ
                                                                                                                                Ｅｌｅｃｔｒｏｎｉｃｓ Ｃｏ．，Ｌｔｄ．②
                                                                                                                ２０２４－１０－０９·Ａｓｓｉｇｎｅｄ ｔｏ ＳＣＡＮ２ＣＡＤＩＮＣ．②
                                                                                                                ２０２５－０２－２５·Ａｐｐｌｉｃａｔｉｏｎ ｇｒａｎｔｅｄ
                                                                                                                ２０２５－０２－２５·Ｐｕｂｌｉｃａｔｉｏｎ ｏｆ ＵＳＤ１０６３８５６Ｓ１
                                                                                                                Ｓｔａｔｕｓ·Ａｃｔｉｖｅ
                                                                                                                ２０４０－０２－２５·Ａｎｔｉｃｉｐａｔｅｄ ｅｘｐｉｒａｔｉｏｎ

                                                                                                                Ｉｎｆｏ：Ｐａｔｅｎｔ ｃｉｔａｔｉｏｎｓ（６６），Ｎｏｎ－ｐａｔｅｎｔ ｃｉｔａｔｉｏｎｓ（１２），Ｌｅｇａｌ
                                                                                                                ｅｖｅｎｔｓ，Ｓｉｍｉｌａｒ ｄｏｃｕｍｅｎｔｓ， Ｐｒｏｒｉｔｙ ａｎｄ Ｒｅｌａｔｅｄ Ａｐｐｌｉｃａｔｉｏｎｓ
                                                                                                                Ｅｘｔｅｒｎａｌ ｌｉｎｋｓ：ＵＳＰＴＯ， ＵＳＰＴＯ ＰａｔｅｎｔＣｅｎｔｅｒ， ＵＳＰＴＯ
                                                                                                                Ａｓｓｉｇｎｍｅｎｔ， Ｅｓｐａｃｅｎｅｔ， Ｇｌｏｂａｌ Ｄｏｓｓｉｅｒ， Ｄｉｓｃｕｓｓ
